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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


VOTE FORWARD, et al.,

                                 Plaintiffs,

       v.
                                                   Civil Case No. 1:20-cv-02405
LOUIS DEJOY, in his official
capacity as the Postmaster General; and the
UNITED STATES POSTAL SERVICE,

                              Defendants.



            PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
                    MOTION FOR PRELIMINARY INJUNCTION



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                                       INTRODUCTION

       In ordinary years, this Nation depends on the United States Postal Service (“USPS”) to

timely deliver and return mail-in ballots so voters across the country can exercise the fundamental

right to vote, a right “preservative of all rights.” Yick Wo v. Hopkins, 118 U.S. 356, 370 (1886).

In this extraordinary year, the global COVID-19 pandemic has turned mail-in voting into the only

feasible means by which millions of Americans can safely cast their ballots in the November 2020

election.

       Forty-three states and the District of Columbia will permit all eligible voters to vote by

mail for the November 2020 election.1 In five states—Colorado, Hawaii, Oregon, Washington,

and Utah—elections are conducted almost entirely by mail.2 In total, at least 83% of eligible

voters—approximately 190 million people—will have the opportunity to vote by mail-in ballot in

the November 2020 election.3 Experts conservatively predict that 80 million mail ballots will be

submitted, a number that far exceeds any previous election.4 Indeed, “[s]ome states anticipate 10

times the normal volume of election mail.”5




1
  Juliette Love, Matt Stevens, & Lazaro Gamio, Where Americans Can Vote by Mail in the 2020
Election, N.Y. TIMES (last updated Aug. 14, 2020), https://rb.gy/fwss8l; Gov. Andy Beshear, State
of Emergency Relating to K entucky Elections (Aug. 14, 2020), Executive Order, https://
www.sos.ky.gov/elections/Documents/2020GeneralElection/EO-GeneralElection.pdf (expanded
eligibility for absentee voting to “[a]ll Kentuckians who are concerned about contracting or
spreading COVID-19”).
2
 Lisa Lerer, Washington: Where Everyone Votes by Mail, N.Y. TIMES (Apr. 15, 2020), https://
www.nytimes.com/2020/04/15/us/politics/washington-where-everyone-votes-by-mail.html.
3
 Kate Rabinowitz & Brittany Renee Mayes, At Least 83% of American Voters Can Cast Ballots
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4
 Juliette Love, Matt Stevens, & Lazaro Gamio, Where Americans Can Vote by Mail in the 2020
Election, N.Y. TIMES (last updated Aug. 14, 2020), https://rb.gy/fwss8l.
5
 Erin Cox, et al., Postal Service Warns 46 States Their Voters Could Be Disenfranchised by
Delayed Mail-In Ballots, WASH. POST (Aug. 14, 2020), https://rb.gy/hgssi4 (emphasis added).


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       The impending flood of mail-in ballots this fall heightens the need for USPS to ensure the

timely delivery of election mail. Remarkably, however, USPS has moved to do the opposite: it

has curtailed the services on which mail balloting depends.

       A new policy imposed by Postmaster General Louis DeJoy in July 2020 now prohibits

previously-common “late” and “extra” mail delivery trips (“Late/Extra Trip Policy” or “Policy”),

which are necessary to ensure the timely delivery of mail ballots. Defendants openly admit that,

contrary to past practice, mail will now be left behind on the workroom floor when the delivery

trucks depart. Such left-behind-mail will be delayed by at least one day—and potentially longer.

       In the 28 states where ballots must be received—and not merely postmarked—by Election

Day, that incremental delay can mean the difference between whether a ballot is counted or not.

As many as eight million voters are expected to mail their completed ballots on the last weekend

before the election. Even if the Policy causes just a one-day delay for a relatively small percentage

of these ballots, that would result in the disenfranchisement of hundreds of thousands of voters.

The Policy could even affect election outcomes. Many of the 28 states—such as Arizona,

Colorado, Florida, Michigan, Pennsylvania, and Wisconsin—are expected to feature closely-

contested Presidential and Senate races, and every state will have various state and local elections

that are often decided by narrow margins.

       By their own admission, Defendants’ Policy has made a challenging situation worse. A

report last week by the USPS Inspector General stated that, during the primaries, a million ballots

were at “high risk” of not being delivered timely to voters or returned timely to election boards.6

Indeed, Defendants have openly declared that there is a serious risk that general election ballots



6
 Ex. 1, USPS, Office of Inspector Gen., Processing Readiness of Election and Political Mail
During the 2020 General Elections (Aug. 31, 2020), https://rb.gy/uwdgdo.


                                                 2
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will not be received by Election Day if they are not mailed a full week in advance. Defendants’

new Policy transforms these risks into certainties.

       The human implications are clear. Millions of individuals can reasonably be estimated to

vote by mail on the Saturday before Election Day. They may have done just that in previous years.

Or wanted to make sure they had the most recent information available before casting their ballots.

Or perhaps were simply too burdened by the tasks of everyday life during the work week to have

time to carefully consider their vote. Perhaps they were generally familiar with how long it usually

takes for a local First-Class letter to be delivered and assumed that Saturday was safe. In the lives

of millions, Saturday, October 31 is the day they will open up their mail at the kitchen table and

vote. But because of the Late/Extra Trip Policy, that vote now faces a significant risk of being

discarded.

       Such wide-scale disenfranchisement is not justified by any legitimate government interest.

Indeed, the Policy has actually undermined USPS’s statutory mission of providing prompt,

reliable, and efficient service. And any justification based on cost is belied by the relatively small

impact on the public fisc and Defendants’ own insistence they have no need for additional funding.

Every indication suggests that the Policy was driven by the concern that President Trump’s deputy

campaign manager articulated two weeks before the Policy was announced: “The president views

vote by mail as a threat to his election.”7

       Plaintiffs Vote Forward, Amy Bolan, Aaron Carrel, Dante Flores-deMarchi, Paul Hunter,

Sebastian Immonen, Kathryn Montgomery, Sean Morrision, Inderbir Singh Datta, Martha

Thompson, Linda Roberson, Gary Young, Voces Unidas de las Montañas (“Voces Unidas”),



7
 Bill Whitaker, How the Coronavirus and Politics Could Impact Voting in the 2020 General
Election, 60 MINUTES (June 28, 2020), https://rb.gy/feyeay.


                                                  3
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Colorado Organization for Latina Opportunity and Reproductive Rights (“COLOR”), and Padres

& Jóvenes Unidos file this memorandum in support of their motion for a preliminary injunction

against Defendants Postmaster General Louis DeJoy and USPS. Plaintiffs respectfully request

that this Court preliminarily enjoin Defendants and their agents from continuing to implement the

new Late/Extra Trip Policy because the Policy imposes undue burdens on Plaintiffs’ and other

voters’ rights to vote in violation of the First and Fifth Amendments.

                                    STATEMENT OF FACTS

I.     Defendants’ Late/Extra Trip Policy Delays the Delivery of Mail Ballots.

       A.      The Late/Extra Trip Policy Causes Mail Delivery Delays of at Least One
               Day—And Potentially More.

       Consistent with its statutory mandate to ensure the “prompt, reliable, and efficient”

delivery of mail, 39 U.S.C. § 101(a), postal workers have historically relied on a combination of

on-time, late, and extra trips to ensure timely delivery of mail. This is true for each step in the

mail delivery process, from the sender’s local “delivery unit” (the local post office) to a processing

facility (called a “plant”) to the recipient’s local delivery unit (if the mail is not routed first to

another processing facility in the network).8

       Late and extra trips allow mail handlers to delay or supplement their scheduled deliveries

to ensure that they have collected and transported all outstanding mail at any given facility.9

Because mail is continuously received at postal facilities throughout the day, these late and extra


8
  See USPS, Fiscal Year 2012 Annual Report to Congress at 40 (“2012 Annual Report”),
https://rb.gy/ajqric; Ex. 2, USPS, Postal Operations Manual 153, 190 (last updated July 7, 2016)
(“Postal Operations Manual”), https://rb.gy/ly52or.
9
 Ex. 3, USPS, Office of the Inspector Gen., Late and Extra Trips at the Philadelphia, PA,
Processing and Distribution Center, USPS (May 13, 2020), https://rb.gy/xpzqad.




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trips ensure that mail is not left behind and is moved expeditiously from facility to facility.10 In

the second half of 2019 alone, USPS reported 591,140 late trips and 176,940 extra trips from

processing facilities to delivery units.11

           On July 10, 2020, USPS announced a sharp departure from this long-standing practice. In

a document entitled “Mandatory Stand-Up Talk: All Employees,” newly-appointed Postmaster

General Louis DeJoy announced an “operational pivot” involving numerous “immediate, lasting,

and impactful” policy changes.12 Explaining that “[e]very single employee will receive this

information, no matter what job they perform,” the document prescribed the following nationwide

policy changes: (i) all “Network, Plant, and Delivery” trips must “depart on time”; (ii) late trips

are “no longer authorized or accepted”; (iii) extra trips are “no longer authorized or accepted”; (iv)

carriers “must begin on time, leave for the street on time, and return on time;” and (v) “no

additional transportation will be authorized to dispatch mail to the Plant after the intended

dispatch” (collectively, the “Late/Extra Trip Policy”).13

           Notably, the policy announcement stated that the resulting changes “may be difficult for

employees” because “we may see mail left behind or on the workroom floor or docks . . . which is

not typical.”14 The new Policy allowing for piles of mail to be left behind stands in stark contrast




10
     Id.
11
     Id.
12
     Ex. 4, USPS, Mandatory Stand-Up Talk: All Employees (July 10, 2020), https://rb.gy/nw4wux.
13
     Id.
14
     Id.




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to USPS’s long-standing policy of instructing postal workers not to leave letters behind and to

make multiple trips as needed to ensure that mail is timely delivered.15

          The Late/Extra Trip Policy was reaffirmed days later in a USPS PowerPoint presentation

entitled “PMGs expectations and plan,” which stated that “plants are not to send mail late,” and if

the “plants are not on time they will hold the mail for the next day.”16 The presentation also

reiterated the new policy curtailing late trips by mail carriers, prohibiting mail carriers from leaving

“any later” than “0900” (i.e., 9:00 am), and stating that if the delivery units “get mail late and your

carriers are gone and you cannot get the mail out without [overtime] it will remain for the next

day.”17

          This ban on late and extra trips forces rigidity onto a process that requires flexible schedules

and a fluid process to deliver mail on time. There are at least three points in the delivery of

completed ballots from the voter to the elections office where the Late/Extra Trip Policy can cause

one day of delay.

          First, after a ballot is delivered to the local post office, a mail handler has to deliver that

ballot to a USPS processing plant.18 But if the ballot arrives at the local post office after the mail

handler has already left for her scheduled trip to the processing plant, the Late/Extra Trip Policy

does not allow the mail handler to make an extra trip to deliver the ballot to the processing plant


15
  Jacob Bogage, Postal Service Memos Detail “Difficult” Changes, Including Slower Mail
Delivery, WASH. POST (July 14, 2020), https://rb.gy/orbz1c.
16
  Ex. 5, Leaked USPS PowerPoint Indicates PMG DeJoy Focus on Getting Operating Costs
Under Control, Alliance of Nonprofit Mailers (July 14, 2020), https://rb.gy/e6edvf (“July 14 USPS
PMG Presentation”) (emphasis added).
17
     Id. (emphasis added).
18
     See 2012 Annual Report at 40; Ex. 2, Postal Operations Manual at 153, 190.




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that day.19 The mail handler must instead wait to deliver the ballot to the processing plant until

the next day.

          Second, once the ballot finally arrives at the processing plant, the mail shipment that

contains the ballot must be sorted. After being sorted, the ballot must be placed on a mail handler’s

truck for delivery from the processing plant to the elections office’s local delivery unit.20 But if

the ballot is not processed and sorted in time for the mail handler’s scheduled departure time from

the processing plant, the Late/Extra Trip Policy does not allow the mail handler to wait for all mail

to be sorted before departure. Instead, the mail handler must leave on time regardless of whether

all relevant mail has been sorted, and cannot return to retrieve and transport the mail in an extra

trip.21 Because of the Late/Extra Trip Policy, the ballot will now remain at the processing plant

until the next day.22

          Third, once the ballot makes it to the elections office’s local delivery unit, a letter carrier

has to deliver it to the elections office.23 But if the ballot arrives at the voter’s local post office

after the carrier’s trip is scheduled to begin, the Late/Extra Trip Policy forbids the letter carrier

from beginning her delivery route late. Instead, the Late /Extra Trip Policy requires the letter

carrier to wait to deliver the ballot until the next day.24




19
     Ex. 5, July 14 USPS PMG Presentation.
20
     See 2012 Annual Report at 40; Ex. 2, Postal Operations Manual at 153, 190.
21
     Ex. 5, July 14 USPS PMG Presentation.
22
     Ex. 4, USPS, Mandatory Stand-Up Talk: All Employees (July 10, 2020).
23
     See 2012 Annual Report at 40; Ex. 2, Postal Operations Manual at 153, 190.
24
     Ex. 5, July 14 USPS PMG Presentation.


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       Any given piece of mail is therefore subject to potential delay at each of these three steps

(and more, if the mail must go to another processing facility). Thus, even for local deliveries, the

Late/Extra Trip Policy has the potential to delay the mail for up to three days.

       B.      Implementation of the Late/Extra Trip Policy Led to Nationwide Delays in
               Mail Delivery.

       The delays outlined above are not merely hypothetical. Defendants’ own statements and

data, as well as numerous report from postal workers, confirm that the Late/Extra Trip Policy has

caused substantial delays in mail delivery.

               1.      Defendants’ Statements and Data Confirm Substantial Delays in
                       Delivery Since the Announcement of the Late/Extra Trip Policy.

       On August 24, 2020 DeJoy testified to Congress that he only made “one change” in early

July: he “asked the team to run the transportation on time and mitigate extra trips”—i.e., the

Late/Extra Trip Policy.25 As the USPS chart below shows, this led to an immediate and dramatic

decline in “on-time” service scores during the weeks of July 11 and July 18. And, as of the end of

August, the on-time score remained far below what it was prior to DeJoy’s implementation of the

Late/Extra Trip Policy.




25
  Ex. 6, Postmaster General Louis DeJoy Testimony Transcript August 24: House Oversight
Hearing at 3:49:09, Rev (Aug. 24, 2020), https://rb.gy/vszepr.


                                                 8
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       This data is especially striking because of the decline in mail volume during the COVID-

19 pandemic, “where even though there’s less mail, it’s moving more slowly—much more

slowly.”27 And the fall in service scores cannot be attributed to personnel shortages caused by the

pandemic, as the data show that there was no appreciable drop in on-time scores throughout the

early months of the pandemic. The service scores collapsed only following the announcement of

DeJoy’s Late/Extra Trip Policy on July 10, 2020.

       USPS itself has spelled out the consequence of such delays for election mail. On July 29,

2020, after DeJoy’s policies went into effect and noticeable service delays took place, USPS sent

letters to 46 states and the District of Columbia, expressly stating that USPS “cannot guarantee all

ballots cast by mail for the November election will arrive in time to be counted.”28 In particular,


26
  USPS, Congressional Briefing: Transportation & Service Performance Updates at 9 (Aug. 31,
2020), https://rb.gy/zpiomk.
27
   Congressional Progressive Caucus, CPC Hearing on Attacks on the US Postal Service at
1:29:14–1:29:25 (Aug. 20, 2020) (testimony of David Williams), https://rb.gy/uajdtn.
28
 Cox, supra note 5 (noting that USPS has “no objection” to the mail-in ballot plans of four states:
Nevada, New Mexico, Rhode Island, and Oregon).


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USPS suggested that, in states where mail ballots must be received by Election Day, voters should

mail completed ballots by October 27, 2020 to arrive on time.

                 2.     Defendants’ Public Statements Confirm That the Late/Extra Trip
                        Policy Has Caused Delays.

         Since implementing the Late/Extra Trip Policy, Defendants’ public statements have

repeatedly and consistently confirmed that the policy has caused delivery delays.

             •   On July 30, 2020, USPS spokesperson David Partenheimer acknowledged in a
                 statement to the Washington Post that USPS’s recent changes have resulted in
                 “service impacts.”29

             •   On August 13, 2020, in an internal USPS memorandum, DeJoy highlighted that
                 extra trips had been reduced by 71%, and that that delivery slowdowns were
                 “unintended consequences” of his new policies.30

             •   On August 21, 2020, in a hearing before the Senate Homeland Security and
                 Governmental Affairs Committee, DeJoy again admitted that his recent changes are
                 responsible for “some delays in the mail.”31 Discussing implementation of his
                 Late/Extra Trip Policy, DeJoy testified that “certainly there was a slowdown in the
                 mail—when our production did not meet the schedule”; that “we feel bad about
                 what the dip in our service, the level has been”; and that “we did not [do] as great
                 a job as we should” in recovering from the “imbalances” created by the transition.32

             •   On August 24, 2020, in testimony to the House Oversight Committee, DeJoy
                 reiterated that his new policies were directly responsible for delays in delivery, and




29
  Jacob Bogage, Top Democrats Say Postmaster General Acknowledged New Policies That
Workers Say Are Delaying Mail, WASH. POST (Aug. 6, 2020), https://rb.gy/iiuqrj.
30
     See USPS, Path Forward: PMG Addresses Restructuring (Aug. 13, 2020), https://rb.gy/y6tbre.
31
   See Sam Levine, USPS Chief Concedes Changes Causing Delays But Won’t Restore Sorting
Machines, THE GUARDIAN (Aug. 21, 2020), https://rb.gy/fwtn0v; see also Ex. 7, Senate Hearing
with Postmaster General Louis DeJoy August 21 Transcript at 25:52–26:54, Rev (Aug. 21, 2020),
https://rb.gy/7vwoyl.
32
   See generally Ex. 7, Senate Hearing with Postmaster General Louis DeJoy August 21
Transcript, Rev (Aug. 21, 2020), https://rb.gy/7vwoyl.




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                  “expose[d] a need to realign some of [USPS’s] processing and scheduling that
                  caused mail to miss the scheduled transportation . . . .”33

           Notably, in his House testimony, DeJoy stated that because “production schedules within

the plants were not aligned with the transportation schedules going out,” “about 10% of the mail

was not aligned.”34 He explained that “[t]he production plants were getting done late, and the

trucks were leaving.”35 In plain English: the mail was getting processed after the trucks had left—

so it had to sit there until the next day.

                  3.     The Experience of Postal Workers Confirms Defendants’ Admissions
                         That the Late/Extra Trip Policy Created Delays.

           Over the past two months, there have been countless reports from mail handlers across the

country that the Late/Extra Trip Policy has directly led to mail delivery delays. For example:

              •   Confirming the detrimental impact caused by the “pivot,” a postal worker in
                  Tennessee reported that “the new policy will not allow holding a truck for even five
                  minutes so it can be loaded with mail,” noting that even “Express Mail and Priority
                  Mail are often left sitting on the docks because trucks have already left.”36

              •   In Maine, postal workers reported leaving 80,000 letters behind because they were
                  not permitted to wait 10 minutes for them to be processed.37




33
  See Ex. 8, USPS, Statement of Postmaster General and Chief Executive Officer Louis DeJoy
before the House Committee on Oversight and Reform (Aug. 24, 2020).
34
  Ex. 6, Postmaster General Louis DeJoy Testimony Transcript August 24: House Oversight
Hearing at 4:48:14, Rev (Aug. 24, 2020), https://rb.gy/vszepr.
35
     Id.
36
   Ben Hall, Postal Trucks Sometimes Travel Across Country—With No Mail—After USPS Cuts,
AXIOS (Aug. 22, 2020), https://www.newschannel5.com/news/newschannel-5-investigates/postal-
trucks-sometimes-travel-across-country-with-no-mail-after-usps-cuts.
37
  Reuben Schafir, Postal Workers’ Union Says Up to 80,000 Letters Were Held Back Monday in
Southern Maine, POSTAL TIMES (updated Aug. 11, 2020), https://rb.gy/8rlwsk.




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           •   In the Midwest, there are “piles of undelivered mail sitting in a Cleveland
               distribution center” as well as in postal offices around the region.38

These anecdotes barely scratch the surface. There have been similar reports of delays in mail

service since implementation of the Late/Extra Trip Policy, including in Alabama, California,

Colorado, Connecticut, Illinois, Maryland, Michigan, Minnesota, Missouri, Nevada, New Mexico,

Ohio, Oregon, Pennsylvania, Rhode Island, South Carolina, Texas, Utah, Vermont, Washington,

Wisconsin, and Virginia.39

       Multiple postal worker unions have affirmed that DeJoy’s new policies are severely

limiting mail transportation and causing mail to be left at sorting plants for days longer than is

typical.40 The American Postal Workers Union (“APWU”), “which represents more than 200,000

Postal Service employees and retirees, has received a number of reports from postal workers and

customers” from mid-July to early August “that mail delivery has slowed and ‘degraded.’”41


38
  Luke Broadwater, Postal Crisis Ripples Across Nation as Election Looms, N.Y. TIMES (Aug.
18, 2020), https://rb.gy/nzpxcc.
39
   See, e.g., State of Washington v. Trump, No. 1:20-cv-03127 (E.D. Wash. Aug. 18, 2020),
https://rb.gy/kgzuht; Andrew Brown & Andrew Miller, Some SC Businesses Say They are
Experiencing Delays Because of US Postal Service Changes, THE POST AND COURIER (Aug. 14,
2020), https://rb.gy/ajupe6; Ellie Rushing, Mail Delays are Frustrating Philly Residents, and a
Short-Staffed Postal Service is Struggling to Keep Up, PHILADELPHIA INQUIRER (Aug. 2, 2020),
https://rb.gy/aryzbj; Lauren Walsh, Central Alabama Experiences Some Mail, Package Delays as
USPS, UPS Feel COVID-19 Impact, ABC 33/40 NEWS (Aug. 12, 2020), https://rb.gy/6swim9; Ron
Trevino, USPS Delivery Delays Leave 82-Year-Old Texas Man Without Heart Medication for a
Week, WBNS (updated Aug. 17, 2020), https://rb.gy/5jbgiz; David Manoucheri, People Wait
Weeks, Months for Packages to be Delivered, KCRA, (Aug. 15, 2020), https://rb.gy/jl5069; Ginna
Roe, Utah Diabetic Waiting for More Than a Week For Supplies By Mail, KUTV, (Aug. 17, 2020),
https://rb.gy/csiruo.
40
  Russell Berman, What Really Scares Voting Experts About the Postal Service, The Atlantic
(Aug. 14, 2020), https://rb.gy/8khnth.
41
  Jessica Dean, Jessica Schneider, & Caroline Kelly, Postal Service Says it has “Ample Capacity”
to Handle Election After Trump Casts Doubt, CNN POLITICS (Aug. 3, 2020), https://rb.gy/od2dwp
(emphasis added).




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According to postal workers, DeJoy’s policies have resulted in “delivery delays of at least two

days across the country.”42 Specifically, postal workers have reported to APWU that “Monday

mail isn’t going out until Wednesday and that in some jurisdictions on some days, mail isn’t going

out at all.”43 The cause of the delays is clear: “They’re ordering workers to leave mail for another

day.”44 Indeed, at one post office, a postal clerk reports that under these new policies, “some mail

is arriving a day later at the processing facility, where it could be delayed again.”45

           C.     Data on the Reduction in Late/Extra Trips Shows That the Delivery of a
                  Substantial Portion of Mail Ballots Will Be Delayed.

           USPS’s own data further confirms the importance of late and extra trips to the timely

delivery of mail. As explained in the attached Declaration of Professor Justin Grimmer, in the

month before the Late/Extra Trip Policy took effect, late and extra trips comprised 15.5% of all

mail delivery trips. Ex. 9, Grimmer Decl. ¶ 11.46 The loss in mail delivery capacity resulting from

the policy change is revealed by the following data published by USPS on August 31, 2020.




42
     Id.
43
     Berman, supra note 40.
44
     Id.
45
   Laura J. Nelson & Maya Lau, ‘Like Armageddon’: Rotting Food, Dead Animals and Chaos at
Postal      Facilities  Amid       Cutbacks,     L.A.     TIMES      (Aug.      20,  2020),
https://www.latimes.com/california/story/2020-08-20/usps-cutbacks-post-office-chaos.
46
   See also Ex. 10, USPS, Congressional Briefing: Transportation & Service Performance Updates
at 4–6 (Aug. 31, 2020), https://rb.gy/zpiomk.




                                                 13
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           This chart shows that since the nationwide Late/Extra Trips Policy took effect, the USPS

has dropped from an average of 4,193 late trips per day to an average of 1,147 late trips per day,

and from an average of 2,260 extra trips per day to average of 606 extra trips per day—reducing,

on average, 4,700 trips every day and 32,900 trips per week. See Ex. 9, Grimmer Decl. ¶ 9 & Ex.

2 thereto. Late and extra trips now comprise only 4.7% of all mail delivery trips. Id. ¶ 11.

II.        The Delay Created by the Late/Extra Trip Policy Will Disenfranchise Voters.

           The delays caused by the Late/Extra Trip Policy will result in the disenfranchisement of

hundreds of thousands of voters. In particular, the Policy will materially burden individuals’ right




47
     Id. at 4.




                                                  14
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to vote in the 28 states that require that ballots be received (rather than postmarked) by Election

Day.48 See Ex. 11 (setting out the deadlines for specific states).

       Assuming that completed ballots sent by voters are treated at First-Class Mail,49 USPS

regulations provide that the expected delivery time for most First-Class Mail delivered within the

48 contiguous states is 1–3 days.50 Absent Defendant’s Late/Extra Trip Policy, a voter in one of

the 28 states who mailed her completed ballot by First-Class Mail could have voted as late as

Saturday, October 31 and, based on the 1–3 day First Class Mail delivery standard, have reasonable

assurance that the ballot would arrive by Election Day. But Defendants’ Late/Extra Trip Policy

will cause at least an additional one-day delay in delivery.

       With that delay, ballots placed in the mail on the Saturday before the election are now at

risk of being rejected because they were received after Election Day. Millions of voters are

expected to put their completed ballot in the mail on October 31, the Saturday before Election Day.



48
  These 28 states are Alabama, Arizona, Arkansas, Colorado, Connecticut, Delaware, Florida,
Hawaii, Idaho, Indiana, Louisiana, Maine, Michigan, Missouri, Montana, Nebraska, New
Hampshire, New Mexico, Oklahoma, Oregon, Pennsylvania, Rhode Island, South Carolina, South
Dakota, Tennessee, Vermont, Wisconsin, and Wyoming.
49
   DeJoy testified before the House and Senate that Election Mail would be treated as First-Class
mail. Ex. 7, Senate Hearing with Postmaster General Louis DeJoy August 21 Transcript at 37:33,
Rev (Aug. 21, 2020), https://rb.gy/7vwoyl. Note, however, that the guidance that USPS issued to
states suggested that blank ballots sent to voters may be treated as Marketing Mail that is subject
to a 3–10 day delivery timeline rather than the applicable First Class Mail timeline, see, e.g., Ex.
12, USPS Letter to Pennsylvania at 2 (emphasis added).
50
   Code of Federal Regulations prescribes a 1–3 day timeframe for most mail delivered within the
48 contiguous states. See 39 C.F.R. § 121.1. Some recent USPS statements indicate that this
regulatory requirement may in fact be carried out in practice, see USPS, Service Standards Map,
https://postalpro.usps.com/ppro-tools/service-standards-maps (current as of July 1, 2020), but a
recent USPS OIG report suggests that Election Mail treated as First-Class mail would be subject
to a 2–5 day delivery standard. See Ex. 1, USPS, Office of the Inspector Gen., Processing
Readiness of Election and Political Mail During the 2020 General Elections (Aug. 31, 2020).




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Ex. 13, Hersh Decl. ¶ 24. But because of the Late/Extra Trip Policy, any voter who places their

completed ballot in the mail after Friday, October 30 faces a significant risk of not having their

vote counted.51

        The risks of a prejudicial delay are even greater in the subset of these 28 states that have

deadlines by which an individual may apply for an absentee ballot that are very shortly before

Election Day. See Ex. 11. Because the Late/Extra Trip Policy creates delays to both the election

official’s mailing of a blank ballot to the voter and the voter’s return of the completed ballot, in

many cases, voters in 15 states will not receive their blank ballot in time to return it by the state’s

receipt-by-Election-Day deadline.       For example, Alabama, Maine, and Wisconsin have

Application Deadlines of October 29.

        Imagine a voter in one of these three states submits their application for a ballot on October

29, in compliance with the state’s laws. Then, assuming that a blank ballot is mailed to the voter

that same day, the blank ballot likely would be received by the voter on October 30 or 31. But just

a one-day delay due to Defendants’ policies would result in the voter’s not receiving her ballot

until October 31 or November 1. As set forth above, a ballot cast on or after October 31 now has

a heightened risk of not being received by the end of Election Day. This dynamic will result in

even more disenfranchisement in the eight states that have application deadlines later than October

29.52


51
  Note that, if the USPS Office of the Inspector General Report’s 2–5 day delivery standard is
correct, the incremental delay caused by the Late/Extra Trip Policy would likely disenfranchise
many voters who put their ballots in the mail even earlier than Saturday, October 31.
52
  These eight states are Louisiana, Michigan, and South Carolina (Application Deadline of
October 30); and Connecticut, Delaware, New Hampshire, South Dakota, and Wyoming
(Application Deadline of November 2).




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III.       The Late/Extra Trip Policy Reflects the Trump Administration’s Animosity Toward
           Voting by Mail.

           In the lead-up to the 2020 election, President Trump has repeatedly asserted, without

evidence, that voting by mail will lead to millions of fraudulent ballots being cast and will

delegitimize the election outcome.53 His assault has been relentless, with more than 70 distinct

attacks on voting by mail.54 And the President has openly stated that he opposes funding USPS as

part of the COVID-19 stimulus packages in order to frustrate voters’ ability to cast ballots by

mail.55

           On March 30, 2020, shortly after massive shutdowns across the country due to the COVID-

19 pandemic, President Trump expressed his belief during a media interview that funding for

voting by mail would promote “levels of voting that, if you ever agreed to it, you’d never have a

Republican elected in this country again.”56 A week later, he encouraged Republicans to “fight

very hard when it comes to statewide voting by mail,” asserting that “for whatever reason, [it]

doesn’t work out well for Republicans.”57

           At the time of those statements, the USPS Board of Governors was actively searching for

a new Postmaster General. The President makes appointments to the Board of Governors, whose



53
   See generally Amy Gardner, Josh Dawsey, & Paul Kane, Trump Opposes Election Aid for States
and Postal Service Bailout, Threatening Nov. 3 Vote, WASH. POST (Aug. 13, 2020),
https://rb.gy/gerlhf.
54
     Id.
55
  See, e.g., Aaron Blake, Trump Blurts out His True Motive on Mail-in Voting, WASH. POST (Aug.
13, 2020), https://rb.gy/u6j6n7.
56
     Id.
57
   @realDonaldTrump, TWITTER (Apr. 8, 2020, 8:20 AM),
https://twitter.com/realdonaldtrump/status/1247861952736526336?lang=en.




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members in turn select the Postmaster General.58 Reports indicate that Secretary of the Treasury

Steven Mnuchin, as part of his “unprecedented” involvement in Postal Service affairs, played an

active role in selecting new Governors who would be aligned with the Secretary’s views on the

selection of a new Postmaster General.59

       On May 6, 2020, just five weeks after President Trump declared his opposition to mail-in

voting, the Board of Governors announced its “unanimous” selection of DeJoy—“a Republican

Party and Trump campaign megadonor”60—as Postmaster General, despite his having never

having worked at USPS.61 A few days before the selection was announced, David C. Williams,

the former USPS inspector general, resigned from his role as the Board’s vice chairman.62

Williams subsequently testified that his resignation was prompted by concerns that the Board,




58
  USPS, About the Board of Governors, https://about.usps.com/who/leadership/board-governors/
(explaining that up to nine governors appointed by the President with the advice and consent of
the Senate in turn select the Postmaster General).
59
   Kenneth P. Vogel et al., Mnuchin Paved Way for Postal Service Shake-Up, N.Y. TIMES (Aug.
22, 2020), https://rb.gy/hm9tgh. For a report on the Board’s search, Mnuchin invited two Trump
appointees—Board chairman Robert M. Duncan and search committee head John M. Barger—to
a meeting at the Treasury Department in early February. Id. See also Testimony of David C.
Williams, Congressional Progressive Caucus Ad-Hoc Hearing on the Postal Service (Aug. 20,
2020), https://rb.gy/4b5mvo (“The Treasury Secretary also insisted that all Republican appointees
on the Board of Governors and the Postal Regulatory Commission come to his office and kiss the
ring, and receive his blessing before confirmation.”).
60
   Lucy Tompkins, Who Is Postmaster General Louis DeJoy?, N.Y. TIMES (Sept. 2, 2020),
https://rb.gy/uir5wk.
61
  Press Release, Board of Governors Announces Selection of Louis DeJoy to Serve as Nation’s
75th Postmaster General, USPS (May 6, 2020), https://m.npmhu.org/media/news/body/0506-bog-
announces-selection-of-louis-dejoy-to-serve-as-nations-75th-postmaster-general.pdf.
62
   Catie Edmondson, Who Is David C. Williams?, N.Y. TIMES (Aug. 20, 2020), https://rb.gy/
sj7oz5.




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which was supposed to be “an independent organization,” “had become politicized,” with

“decision-making [that] was largely transferred to the Secretary of the Treasury.”63

       On June 15, 2020, DeJoy assumed his position as Postmaster General. By that time, there

could be no doubt about President Trump’s avowed hostility to voting by mail. Indeed, on June

28, 2020, Trump campaign senior counsel Justin Clark (who is now President Trump’s deputy

campaign manager) drove the point home in an interview on CBS, confirming the underlying

rationale: “The president views vote by mail as a threat to his election.”64 Twelve days later,

DeJoy announced the Late/Extra Trips Policy.

       Though DeJoy has defended his policy change as being justified by funding shortfalls,

President Trump’s public statements have revealed this assertion to be mere pretext. The President

has opposed stimulus package funding for USPS precisely because it would facilitate voting by

mail.65 On August 13, 2020, in a Fox Business Network interview, President Trump explained:

“They want three and a half billion dollars for the mail-in votes. Universal mail-in ballots. They

want $25 billion, billion, for the Post Office. Now they need that money in order to make the Post

Office work so it can take all of these millions and millions of ballots. . . . But if they don’t get

those two items that means you can’t have universal mail-in voting because you [sic] they’re not

equipped to have it.”66




63
  Testimony of David C. Williams, Congressional Progressive Caucus Ad-Hoc Hearing on the
Postal Service at 33–34 (Aug. 20, 2020), https://rb.gy/4b5mvo.
64
  Bill Whitaker, How the Coronavirus and Politics Could Impact Voting in the 2020 General
Election, 60 MINUTES (June 28, 2020), https://rb.gy/feyeay.
65
  See Aaron Blake, Trump Blurts out His True Motive on Mail-in Voting, WASH. POST (Aug. 13,
2020), https://rb.gy/u6j6n7.
66
  Ellie Kaufman et al., Trump Says He Opposes Funding USPS Because of Mail-In Voting, CNN
(Aug. 13, 2020), https://rb.gy/fqhhjo.


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                                           ARGUMENT

       “To secure a preliminary injunction, a plaintiff ‘must establish [1] that he is likely to

succeed on the merits, [2] that he is likely to suffer irreparable harm in the absence of preliminary

relief, [3] that the balance of equities tips in his favor, and [4] that an injunction is in the public

interest.’” Jubilant DraxImage Inc. v. United States Int’l Trade Comm’n, 396 F. Supp. 3d 113,

119–20 (D.D.C. 2019) (quoting Winter v. Nat’l Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)).

Here, all four points favor issuing the requested preliminary relief.

I.     Plaintiffs Are Likely to Succeed on the Merits of Their Claim That Defendants’
       Late/Extra Trip Policy Imposes an Unconstitutional Burden on the Right to Vote.

       Plaintiffs are likely to succeed on the merits of their First and Fifth Amendment claim that

Defendants’ Late/Extra Trip Policy imposes an unconstitutional burden on the fundamental right

to vote. The United States Constitution guarantees that “all qualified voters have a constitutionally

protected right to vote . . . and to have their votes counted.” Reynolds v. Sims, 377 U.S. 533, 554

(1964). This fundamental right to vote is rooted in “the right of individuals to associate for the

advancement of political beliefs, and the right of qualified voters, regardless of their political

persuasion, to cast their votes effectively.” Williams v. Rhodes, 393 U.S. 23, 30 (1968).

       These protections are typically articulated as First and Fourteenth Amendment rights in

suits against state actors. See Anderson v. Celebrezze, 460 U.S. 780, 787 (1983); Burdick v.

Takushi, 504 U.S. 428, 434 (1992). Here, the First and Fifth Amendments provide the same

guarantees and forbid the federal government from imposing undue burdens on the right to vote:

First Amendment claims are available against federal agencies, see Agency for Int’l Dev. v. All.

for Open Soc’y Int’l, Inc., 570 U.S. 205 (2013). The Supreme Court has explained that its

“approach to Fifth Amendment equal protection claims has always been precisely the same as to

equal protection claims under the Fourteenth Amendment.” Weinberger v. Wiesenfeld, 420 U.S.



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636, 638 n.2 (1975); United States v. Windsor, 570 U.S. 744, 774 (2013). Accordingly, the same

Anderson-Burdick framework has been applied in lawsuits brought against non-state government

actors. See Libertarian Party v. D.C. Bd. of Elections & Ethics, 682 F.3d 72, 73 (D.C. Cir. 2012)

(“The Supreme Court’s decision in Burdick v. Takushi, 504 U.S. 428, 112 S.Ct. 2059, provides the

framework for our analysis.”).

       Under the Anderson-Burdick framework, courts “must first consider the character and

magnitude of the asserted injury” to the plaintiffs’ right to vote against “the precise interests put

forward by the [government] as justifications for the burden imposed[,]” including “the legitimacy

and strength of each of those interests” and “the extent to which those interests make it necessary

to burden the plaintiff’s rights.” Anderson, 460 U.S. at 789. “When a voter’s rights are ‘subjected

to severe restrictions,’” those restrictions must survive strict scrutiny. Libertarian Party, 682 F.3d

at 74 (quoting Burdick, 504 U.S. at 434). That is, they “‘must be narrowly drawn to advance a

state interest of compelling importance.’” Id. When the challenged restrictions impose “only

‘reasonable, nondiscriminatory restrictions’ upon the constitutional rights of voters, ‘the

[government’s] important regulatory interests are generally sufficient to justify the restrictions.’”

Id. For restrictions that fall in between those two extremes, the Anderson-Burdick framework

operates as a “sliding scale” test, “where the more severe the burden, the more compelling the

[government]’s interest must be.” Soltysik v. Padilla, 910 F.3d 438, 444 (9th Cir. 2018); see also

Fusaro v. Cogan, 930 F.3d 241, 257–58 (4th Cir. 2019); Utah Republican Party v. Cox, 892 F.3d

1066, 1077 (10th Cir. 2018). Even restrictions imposing “slight burdens” must be “justified by

relevant and legitimate [government] interests ‘sufficiently weighty to justify the limitation.’”

Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 191 (2008) (citations omitted).




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       Defendants’ Late/Extra Trip Policy seriously restricts Plaintiffs’ and other voters’ right to

vote and to have their ballots counted. For Plaintiffs and other voters in any of the 28 states that

require mail ballots to be received by Election Day, the Late/Extra Trip Policy materially burdens

the right to vote, and USPS’s justifications for nonetheless implementing the Policy do not

outweigh this burden. For Plaintiffs and other voters for whom voting by mail is the only option—

those voters at high health risk due to COVID-19 and those voters who have disabilities—the

burden on voting is even greater: it is severe. USPS’s interest in implementing policies affecting

these voters does not survive strict scrutiny. In sum, any interest USPS has in implementing the

Late/Extra Trip Policy during a public health crisis and a general election in which millions of

eligible voters are expected to vote by mail does not justify the burden imposed on Plaintiffs and

other voters.

       A.       Defendants’ Late/Extra Trip Policy Severely Burdens the Right to Vote.

                1.     The Right to Vote Deserves Protection Against Undue Delay in the
                       Delivery of Ballots.

       It is well established that laws, rules, or policies that may disenfranchise otherwise eligible

voters impose an undue burden on the right to vote. See, e.g., Obama for Am. v. Husted, 697 F.3d

423, 433 (6th Cir. 2012) (finding the “ability to cast a ballot [] impeded by” Ohio’s elimination of

in-person early voting during the three-day period before Election Day because “early voters tend

to be members of demographic groups that may be unable to vote on Election Day or during the

workday at local boards of elections because of work schedules”); Price v. N.Y. State Bd. of

Elections, 540 F.3d 101, 109 (2d Cir. 2008) (observing “[i]t cannot be disputed that” a law

prohibiting absentee ballots during county committee elections “would impose a substantial

burden on voters physically unable to attend a polling station because they are hospitalized,

homebound, or incarcerated”); League of Women Voters of Fla., Inc. v. Detzner, 314 F. Supp. 3d



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1205, 1225 (N.D. Fla. 2018) (preliminarily enjoining Florida’s Secretary of State from

implementing or enforcing an early voting statute in a way that prohibited early voting at facilities

related to, designed for, or affiliated with colleges or universities because the Secretary’s prior ban

on early voting in such facilities unduly burdened the voting rights of college students); Doe v.

Walker, 746 F. Supp. 2d 667, 679–80 (D. Md. 2010) (“By imposing a deadline which does not

allow sufficient time for absent uniformed services and overseas voters to receive, fill out, and

return their absentee ballots, the state imposes a severe burden on absent uniformed services and

overseas voters’ fundamental right to vote.”).

        Courts have also found that a delivery delay may burden the right to vote. As one court

put it, a delay in delivery can mean that a “voter’s right to vote . . . may hinge on random chance,”

with two ballots mailed at the same time, at different post offices, whether either vote is counted

depends “entirely on the speed at which their local post office delivered their votes.” Gallagher

v. N.Y. State Bd. of Elections, No. 20 Civ. 5504 (AT), 2020 WL 4496849, at *19–20 (S.D.N.Y.

Aug. 3, 2020). And the government cannot overlook or dismiss a “systemic problem that

arbitrarily renders [thousands of] ballots invalid.” Id. at *17.

               2.      Statistical Evidence Demonstrates that the Late/Extra Trip Policy
                       Imposes a Substantial Burden on Plaintiffs’ Right to Vote.

        As described above, the Late/Extra Trip Policy has significantly reduced USPS capacity,

cutting 4,700 late and extra trips every day, which amounts to a reduction of an average of 32,900

trips per week. See Ex. 9, Grimmer Decl. ¶ 9 & Ex. 2 thereto. These late and extra trips formerly

comprised 15.5% of all trips, and slashing them will hinder USPS’s ability to deliver the mail on

time.

        In the context of the November 2020 election, where experts conservatively estimate that

80 million people are expected to vote by mail, this potential for delay is no small matter. See Ex.



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13, Hersh Decl. ¶ 14. And for individuals who vote on the weekend before Election Day, the risk

is particularly severe, because even a one-day delay can disqualify their ballot from counting.

Given that between 3.7 and 9.3 percent of all individuals who vote by mail are expected to cast

their ballot on the Saturday before the election, the range of potentially prejudiced voters is

reasonably estimated to be on the order of three to eight million. Id. ¶¶ 21–23. Even if just five

percent of these voters’ ballots are delayed by the Late/Extra Trip Policy, that amounts to hundreds

of thousands of voters who will be disenfranchised.

               3.      The Right to Vote Is Burdened Under the Laws of the Specific States in
                       Which Individual Plaintiffs Intend to Vote and In Which
                       Organizational Plaintiffs Operate.

       The delay inflicted by the Late/Extra Trip Policy clearly burdens the right to vote in the 28

states that require mail ballots to be received by Election Day. In a state like Colorado—where

Plaintiffs Voces Unidas, COLOR, and Padres & Jóvenes Unidos strive to engage Latinx voters,

and where thousands of members of COLOR and Padres & Jóvenes Unidos reside and vote—if a

voter mails her completed ballot on the Saturday before Election Day, even just a one-day delay

in mail delivery significant increases the risk of the ballot being rejected as untimely. And a delay

of just two days would make disenfranchisement a certainty. This scenario is likely to play out in

all 28 receipt-by-Election-Day deadline states—including Wisconsin (where Plaintiff Aaron

Carrel resides and votes), Texas (where Plaintiff Dante Flores-deMarchi plans to vote), and Maine

(where Plaintiff Martha Thompson plans to vote).            Thus, USPS’s Policy seriously risks

disenfranchising eligible voters.

       Voters in Alabama and Indiana are likely to suffer even higher rates of disenfranchisement

attributable to Defendants’ Policy because their ballots must be received by noon on Election




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Day.67 And in Louisiana, mail ballots must be received on the day before the election.68

Defendants’ Policy thus places Louisiana voters—including Plaintiff Kathryn Montgomery—at

an especially high risk of not having their votes counted.

          These burdens will be further exacerbated in states that have Application Deadlines of

October 29th or later. Several individual Plaintiffs reside in these states, including Aaron Carrel

(Wisconsin), Martha Thompson (Maine), and Kathryn Montgomery (Louisiana). As set forth

above, if each of them exercised their right to request a ballot by the applicable state deadline, they

would not likely be able to mail their ballots until October 31, resulting in a significant risk that

their completed ballots would not be received by the close of Election Day.

                 4.      The Late/Extra Trip Policy Imposes A Severe Burden on Voters for
                         Whom Voting By Mail Is Their Only Option.

          The Late/Extra Trip Policy will have a particularly severe impact on two groups of voters.

          First, the Policy will severely burden voters for whom COVID-19 poses an especially high

health risk—and, in turn, for whom voting in person poses a risk of serious illness or death—

because they have no alternative to effectuate their right to vote. This includes older voters, voters

with underlying medical conditions, and voters from racial and ethnic minority groups that the

CDC has found to have a disproportionately high incidence of such co-morbidities.69

          Second, the Late/Extra Trip Policy will severely burden voters with disabilities who cannot

physically get to the polls at all, and would thereby rely on mail-in ballots even outside the

strictures of the pandemic.



67
     Ala. Code § 17-11-18; Ind. Code Ann. § 3-11.5-4-7.
68
     La. Stat. Ann. § 18:1308 (mailed ballots must be received by day before election at 4:30 p.m.).
69
  CDC, Coronavirus Disease 2019 (COVID-19): People With Certain Medical Conditions (last
updated Aug. 14, 2020), https://rb.gy/lwbqlw; CDC, Health Equity Considerations and Racial and
Ethnic Minority Groups (last updated July 24, 2020), https://rb.gy/kvoquz.


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         B.      Defendants’ Interests In Maintaining the Late/Extra Trip Policy Do Not
                 Justify the Burden Imposed on Voters.

          Postmaster General DeJoy has offered two rationales for his sudden “operational Pivot”

in June: efficiency and cost. Neither claimed interest justifies the burden Defendants’ policy

imposes on voting rights. Moreover, these proffered justifications are mere pretext for a policy

that is designed to impose a burden on voting rights. The President has made clear that he views

mail-in voting as a threat to his re-election prospects, and both he and DeJoy have opposed the

very funding that could address Defendants’ purported cost concerns.

                 1.        The Efficiency Rationale Does Not Bear Scrutiny.

         In his recent Congressional testimony, DeJoy claimed that his Late/Extra Trip Policy was

intended to improve efficiency by ensuring that “the trucks leave on time”: “Theoretically,

everyone should have got their mail faster. . . . [t]he analysis that we did was that if we move the

mail on schedule that all late deliveries would have been improved.”70

         In practice, the opposite happened. On-time delivery performance immediately, and

sharply, deteriorated between early July and early August, as the Late/Extra Trip Policy came into

effect.71 DeJoy has conceded that his Late/Extra Trip Policy impacted overall service levels,

causing a “slowdown in the mail” and “dip in our service.”72 Contrary to his later testimony, these

inefficiencies did not come as a surprise. The “Mandatory Stand-Up Talk” announcing the policy

change expressly anticipated that “delayed mail volumes” would result, and that it “may be


70
  Ex. 7, Senate Hearing with Postmaster General Louis DeJoy August 21 Transcript at 1:22:42–
44.
71
     See supra pp. 8–14.
72
  Ex. 7, Senate Hearing with Postmaster General Louis DeJoy August 21 Transcript at 31:58,
45:46




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difficult for employees” to “see mail left behind or mail on the workroom floor or docks . . . ,

which is not typical.”73

         The Policy change was expected to—and did in fact—undermine the ability of the Postal

Service to fulfill its statutory duty to provide “prompt, reliable, and efficient services to patrons in

all areas.” 39 U.S.C. § 101(a). That change cannot plausibly be justified on the basis of efficiency.

Even if service disruptions caused by the Late/Extra Trip Policy eventually prove to be

temporary—and to date, there is no evidence that they will—there is no reason to believe that the

resulting burdens on voting rights are necessary or even reasonable, especially when incurred

during the run-up to an election in which voting by mail will play such a prominent role.

                 2.     The Cost-Savings Justification Does Not Bear Scrutiny.

         With respect to cost, DeJoy has emphasized the budgetary challenges faced by USPS and

the need to enact policies with “a positive impact on cost savings that improved the business.”74

But any supposed cost savings from the Late/Extra Trip Policy cannot justify the burden on voting

rights for three reasons.

         First, while the government of course may take action to preserve the public fisc, it must

not seriously burden fundamental rights, including the right to vote, in pursuing that objective.

See, e.g., Shapiro v. Thompson, 394 U.S. 618, 633 (1969) (recognizing that the government “has

a valid interest in preserving the fiscal integrity of its programs,” but “may not accomplish such a

purpose by” violating its citizens’ fundamental rights); Common Cause Ind. v. Marion Cty.

Election Bd., 311 F. Supp. 3d 949, 972 (S.D. Ind. 2018) (concluding that the government “cannot,

of course, defeat every constitutional challenge to voting restrictions, no matter how capriciously



73
     Ex. 4, USPS, Mandatory Stand-Up Talk: All Employees (July 10, 2020).
74
     Ex. 7, Senate Hearing with Postmaster General Louis DeJoy August 21 Transcript at 24:17.


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enacted, on the plea that fewer voters mean cheaper elections”), vacated and remanded on

mootness grounds, 925 F.3d 928 (7th Cir. 2019).

         Second, to the degree that cost can be considered, the claimed savings—viewed in context

of overall USPS operations—are de minimis, especially over the brief period leading up to the

election. DeJoy’s policy announcement indicated that late and extra trips cost USPS “around $200

million in added expenses.”75 Even on an annual basis, that cost is less than one-third of one

percent of the agency’s 2019 operating revenue of $71.1 billion.76 But over the relevant two-

month period from mid-September to mid-November, the cost savings is only $33 million—

approximately 0.05% of USPS’s annual revenue. In defending his policy change before Congress,

DeJoy asked in exasperation: “Am I the only one in this room that understands we have a $10

billion a year loss?”77 The more important question is whether DeJoy understands that his Pivot’s

claimed savings of $33 million over two months will make no material dent in that deficit.

         Third, as DeJoy’s recent congressional testimony confirms, the short-term financial

position of USPS—through the 2020 election and into 2021—is sound. Senator Johnson noted

before DeJoy’s testimony that “[d]ue to a surge in package delivery rather than being down the

Postal Service’s revenue is actually $1.5 billion higher this year than during the same period last




75
     Ex. 4, USPS, Mandatory Stand-Up Talk: All Employees (July 10, 2020).
76
   USPS, Press Release, U.S. Postal Service Reports Fiscal Year 2019 Results (Nov. 14, 2019),
https://about.usps.com/newsroom/national-releases/2019/1114-usps-reports-fiscal-year-2019-
results.htm.
77
  Ex. 14, House Oversight and Reform Committee Holds Hearing on Postal Service Operational
Changes, CQ Transcripts (Aug. 24, 2020), https://rb.gy/t8xbxx.




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year.”78 And in the House, Representative Comer emphasized that with “nearly $15 billion cash

on hand,” USPS “can operate until at least August of 2021.”79 Notably, DeJoy did not dispute

these claims. Instead, he affirmed that USPS has “plenty of operating capital right now to get

through November, yes, and handle the election.”80 Needless to say, it is difficult to reconcile

DeJoy’s embrace of the urgent need to drive costs out and “increase revenue”81 with his opposition

to any short-term funding from Congress.

                 3.     The Refusal To Accept Additional Funding While Insisting on Cost
                        Cutting Demonstrates a Desire To Frustrate Mail Balloting.

         It appears that the real objective of the Late/Extra Trip Policy is to frustrate the mail-in

voting process at the very moment when it is critical to ensure the right to vote. As noted above,

since the end of March, President Trump has repeatedly made clear that he opposes voting by mail

because he believes that it would be politically disadvantageous. See supra 17–19. Indeed,

President Trump opposes any increase in USPS funding precisely because he believes “they need

that money in order to make the Post Office work so it can take all of these millions and millions

of ballots.”82

         Postmaster General DeJoy shares President Trump’s opposition to short-term

Congressional funding, claiming that no additional funding is necessary for the agency to operate



78
   Ex. 15, Senate Homeland Security and Governmental Affairs Committee Hearing on USPS
Operations During COVID-19 and the Elections, CQ Transcripts (Aug. 21, 2020),
https://rb.gy/qnt654.
79
  Ex. 14, House Oversight and Reform Committee Holds Hearing on Postal Service Operational
Changes.
80
     Id.; see also Ex. 15, Senate Homeland Security and Governmental Affairs Committee Hearing.
81
  Ex. 14, House Oversight and Reform Committee Holds Hearing on Postal Service Operational
Changes.
82
  Ellie Kaufman et al., Trump Says He Opposes Funding USPS Because of Mail-In Voting, CNN
(Aug. 13, 2020), https://rb.gy/fqhhjo.


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through the November election. Yet at the same time—purportedly on the basis of cost concerns—

DeJoy has imposed and declined to suspend a Late/Extra Trip Policy that will burden the

fundamental right to vote by risking unnecessary delays in the delivery of mail-in ballots. Absent

another plausible justification, DeJoy’s insistence on maintaining the Late/Extra Trip Policy and

his opposition to additional funding from Congress appear to be driven by the President’s political

calculations.

II.    Plaintiffs Will Suffer Irreparable Harm Without a Preliminary Injunction.

       A.       A Concrete Threat To the Right to Vote Constitutes Irreparable Injury to
                Individual Plaintiffs.

       Absent an injunction that prevents Defendants from implementing the Late/Extra Trip

Policy, the individual Plaintiffs and organizational Plaintiffs’ members will suffer the irreparable

harm of an undue burden on their constitutional right to vote. Specifically, absent an injunction,

the Late/Extra Trip Policy will continue to cause delays through Election Day that will effectively

disenfranchise individual voters. Defendants have made it clear, through their testimony to

Congress, that they intend to continue implementing the Late/Extra Trip Policy.83

       Courts have found that even a threatened “loss of First Amendment rights, for even

minimal periods of time, unquestionably constitutes irreparable injury.” Giovani Carandola, Ltd.

v. Bason, 303 F.3d 507, 520–21 (4th Cir. 2002); see also Preston v. Thompson, 589 F.2d 300, 303

n.3 (7th Cir. 1978) (“The existence of a continuing constitutional violation constitutes proof of an

irreparable harm.”); Elrod v. Burns, 427 U.S. 347, 373, (1976) (where plaintiff had proven a

probability of success on the merits, the threatened loss of First Amendment freedoms

“unquestionably constitutes irreparable injury”); Common Cause/Ga. v. Billups, 406 F. Supp. 2d



83
 See Ex. 6, Postmaster General Louis DeJoy Testimony Transcript August 24: House Oversight
Hearing at 3:49:09.


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1326 (N.D. Ga. 2005) (granting a motion enjoining the state of Georgia from applying its photo

ID requirement because it unduly burdened the fundamental right to vote).

         Here, the threat is clear and immediate. This was reiterated as recently as August 31, 2020,

when Defendants advised Congress that they do not intend to halt Late/Extra Trip Policy despite

the evidence of its negative effect on service performance.84 An injunction is therefore necessary

to prevent Defendants from implementing the Late/Extra Trip Policy.

         B.      Plaintiffs in This Case Will Suffer an Irreparable Injury To Their Right to
                 Vote.

         As detailed below, each individual Plaintiff has a sound reason to mail their ballot on a day

that is close to the election. For each of the individual Plaintiffs, however, doing so puts them at

risk that their vote will not be counted. In particular, absent the Late/Extra Trip Policy, a ballot

placed in the mail on Saturday, October 31, that was given First-Class treatment would have likely

arrived at its destination by November 3. But even assuming just a one-day delay, the voter cannot

be assured that their ballot will arrive by Election Day.

                 1.     The Individual Plaintiffs Will Suffer Irreparable Injury.

         Plaintiff Aaron Carrel resides and votes in Wisconsin. Ex. 16, Decl. of A. Carrel, ¶ 1.

Wisconsin has an Application Deadline of October 29 and a receipt-by-Election Day deadline for

completed ballots. Mr. Carrel requested his absentee ballot for the general election on July 2,

2020, but he has not yet received it. Id. ¶ 4. He intends to vote by mail close to Election Day,

perhaps on the weekend before Election Day, because he is undecided about who to vote for in his

local congressional race and wants time to fully understand the candidates’ positions. Id. ¶¶ 8–9.

During the primaries, Mr. Carrel mailed his ballot in several weeks ahead of the deadline but




84
     Ex. 10, USPS, Congressional Briefing: Transportation & Service Performance Updates at 5.


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subsequently regretted his vote when he learned about the candidates’ position towards social

justice events that erupted in the state over the summer. Id. ¶¶ 5–7. If Mr. Carrel casts his vote

on the Saturday before Election Day, October 31, he would likely be disenfranchised as a result of

Defendants’ Policy. The Late/Extra Trip Policy therefore forces Mr. Carrel to choose between

mailing his vote earlier and risk casting a vote he may later regret, or casting a vote he is sure about

later in time at the risk of being disenfranchised.

       Plaintiff Martha Thompson is a resident of Maine. Ex. 17, Decl. of M. Thompson, ¶ 1.

Maine has a receipt-by-Election Day deadline. Ms. Thompson is a college student who is spending

the fall semester working at organic farms in various states across the country. Id. ¶ 4. She intends

to vote by mail regardless of whether she is back in Maine or in a different state, due in part to the

uncertainties of where she will be in October. Id. ¶ 6. She intends to vote close to Election Day

due to these uncertainties, and because she is unsure when she will receive the absentee ballot that

she requested.

       Plaintiff Katheryn Montgomery is an 81-year-old resident of Louisiana. Ex. 18, Decl. of

K. Montgomery, ¶ 1. Ms. Montgomery requested her absentee ballot but has not yet received it.

She prefers to vote in person because she likes to mingle with her friends and neighbors at the

polling place. Id. ¶ 2. This year, Ms. Montgomery intends to vote by mail because she is concerned

about potential exposure and contraction of COVID-19. Given her age, she believes that she is at

a higher risk of developing severe complications if she were to contract the virus. Id. ¶ 4. Ms.

Montgomery believes she will have to wait until closer to Election Day to mail her ballot because

there is a very important race for District Attorney in her parish, and she understands that the

candidates’ positions will likely evolve and be revealed as the race progresses. Id. ¶ 5. The




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deadline for receipt of a mail-in ballot in Louisiana is 4:30 p.m. on November 2, one day before

Election Day.

       Plaintiff Sebastian Immonen is a registered voter of Pennsylvania and is currently a college

student living in Rhode Island. Ex. 19, Decl. of S. Immonen, ¶¶ 1–2. He has not yet requested

his ballot because there is a possibility his college will close, and he will be forced to go home if

COVID-19 cases spike as students continue to move on campus. He understands that he has until

October 27th to request his ballot, and he wants to wait until he has more certainty about where

will be so he can request the ballot and have it arrive at the correct address. Id. ¶ 3. Because he

will be unable to request his ballot until he has certainty about where he will be living, he may be

unable to return a completed ballot until close to Election Day. Id. ¶¶ 3–4. Even if his college

closes and he has to return home, Mr. Immonen intends to vote by mail because he is concerned

that voting in person will place his family at risk of contracting COVID-19. His family is caring

for his grandmother and his grandfather, who is in the hospital, so he does not want to place them

at risk by having to be in close proximity to other people at a polling place. Id. ¶ 6. Pennsylvania

has a receipt-by-Election Day deadline.

       Plaintiff Amy Bolan is a resident and registered voter of Hawaii. She usually votes by mail

because it gives her greater flexibility in researching candidates and ballot initiatives. Ex. 20,

Decl. of A. Bolan, ¶ 2. Hawaii has a receipt-by-Election Day deadline. She intends to mail her

ballot close to Election Day, possibly the weekend before the election, because she wants time to

research the many local candidates and issues on the ballot. She relocated back to Hawaii recently

after attending school on the mainland, so she is less familiar with the local races and issues as she

was in the past. Id. ¶ 5.




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       Plaintiff InderBir Datta is a resident and registered voter of Oregon. Ex. 21, Decl. of I.

Datta, ¶ 2. Oregon is conducting the election primarily by mail and has a receipt-by-Election Day

deadline. Mr. Datta intends to mail his completed ballot close to Election Day, on October 27th or

October 28th at the earliest. Id. ¶ 4. He is concerned about a number of issues and ballot initiatives

that will be on the ballot, such as local tax measures, and he needs time to fully understand the

impact of each initiative and proposal. Id. Furthermore, he wants to have as much information as

possible before casting a vote for any particular candidate due to the nature of evolving local and

state elections. Thus, he wants to wait to mail his ballot until he has all the information he needs

to make decisions on how to vote. Id.

               2.      Impairment to an Organization’s Mission and Programs Constitutes
                       Irreparable Injury.

       An organizational plaintiff seeking a preliminary injunction must make two showings to

demonstrate irreparable harm. First, the harm must be “certain and great,” “actual and not

theoretical,” and so “imminen[t] that there is a clear and present need for equitable relief to prevent

irreparable harm.” Second, the harm “must be beyond remediation.” League of Women Voters of

United States v. Newby, 838 F.3d 1, 7–8 (D.C. Cir. 2016) (granting preliminary injunction where

organizational plaintiff’s goal to register voters was impaired by the state’s proof-of-citizenship

requirement). An organization is harmed if the “actions taken by [the defendant] have ‘perceptibly

impaired’ the [organization’s] programs.” Fair Emp’t Council of Greater Wash., Inc. v. BMC

Mktg. Corp., 28 F.3d 1268, 1276 (D.C. Cir. 1994) (quoting Havens Realty Corp. v. Coleman, 455

U.S. 363, 379 (1982)); see also Nat’l Treasury Emps. Union v. United States, 101 F.3d 1423, 1430

(D.C. Cir. 1996) (explaining that the initial question is whether “a defendant’s conduct has made

the organization’s activities more difficult”). If so, the organization must then also show that the




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defendant’s actions “directly conflict with the organization’s mission.” Nat’l Treasury Emps.

Union, 101 F.3d at 1430.

        Here, Defendants’ Policy directly conflicts with the mission, goals, and get-out-the vote

programs of the organizational Plaintiffs, including Vote Forward and Voces Unidas. The Policy

has caused Plaintiffs to redirect their limited resources, which includes both their labor and their

funds, to address challenges caused by Defendants’ Policy that were unforeseen. For the same

reasons discussed, see infra pp. 35–37, the threat is clear and immediate. Absent an injunction,

Defendants will not cease implementation of the Late/Extra Trip Policy and the organizational

Plaintiffs’ activities and programs will continue to be impaired.

                3.      Organizational Plaintiffs in this Case Will Suffer an Irreparable
                        Injury.

        Plaintiff Vote Forward is a non-profit organization whose core mission is to empower

grassroots volunteers to help register voters from traditionally underrepresented communities and

encourage them to vote. Ex. 22, Decl. of Vote Forward, ¶ 2. As part of its 2020 get-out-the-vote

(“GOTV”) goal, Vote Forward aims to send 10 million hand-written letters to potential voters in

a number of states in late October, i.e., close to Election Day. Id. ¶¶ 5–6. Vote Forward’s mailing

campaign has a particular emphasis on sending GOTV messages close to Election Day because

prior experiments—including experiments by Vote Forward—have shown that GOTV messages

are not effective at increasing voter turnout if sent too early in the election cycle. Id. ¶ 6.

        The delays caused by USPS’s Policy, however, have frustrated Vote Forward’s mission of

increasing voter turnout by forcing Vote Forward to move up its timeline for mailing GOTV

letters—contrary to its goal of mailing out letters to potential voters close to Election Day. Id.

¶¶ 7–8. Indeed, Defendants’ Policy raises a serious risk that Vote Forward’s letter-writing




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campaign to increase voter turnout close to Election Day will be severely limited in its

effectiveness. Id. ¶ 8.

        Moreover, in response to USPS’s Policy, Vote Forward has diverted resources to respond

to an influx of inquiries of volunteers regarding USPS’s mailing delays and to assess whether

sending out GOTV letters earlier than planned would negatively impact the effectiveness of Vote

Forward’s letter-writing campaign. Id. ¶ 9. Specifically, Vote Forward has launched two

programs in response to Defendant’s Policy. One program, “Mailbox-to-Mailbox: Assessing

USPS,” aims to quantify the mailing delays associated with Defendant’s policies. Id. ¶ 10. The

other program, a controlled experiment in Florida, seeks to ascertain the differential impact on

voter turnout if GOTV letters are sent one week versus three weeks prior to an election. Id. ¶ 11.

        Plaintiff Voces Unidas is a non-profit organization dedicated to increasing civic

engagement of the Latino population in three rural Colorado counties. For the November election,

Voces Unidas is mounting get-out-the-vote campaigns. Ex. 23, Decl. of Voces Unidas, ¶¶ 1–2.

The delays caused by USPS’s Policy have frustrated the organization’s goals and have caused it

to redirect its limited resources to tackle the challenges caused by the Policy. Specifically, the

delays caused by the Policy have eroded the Latino communities’ trust in USPS because the

communities have already experienced delays in receiving essential items by mail. Id. ¶ 5. If

people believe their ballot will be delayed and will not be counted, they will not take the time and

effort to cast a ballot in the first place. Id.

        As a result, Voces Unidas will be spending additional time and resources to rebuild the

communities’ trust in USPS and the electoral process. Id. ¶ 6. Worse, the delays caused by the

Policy have shortened the timeline that Voces Unidas previously thought it had to complete its

campaigns. Id. ¶ 7. Indeed, as an organization that is effectuating a get-out-the-vote campaign in




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one of the five states that conduct its election primarily by mail (Colorado), the Late/Extra Trip

Policy imposes a serious burden on their activities, which now includes redirecting its time and

resources to initiate outreach and canvassing efforts earlier than anticipated and in a more intense

manner in order to encourage people who were previously used to voting close to Election Day to

mail out their ballot much earlier. Id.

       In order to address the challenges caused by USPS’s Policy, Voces Unidas calculates that

it will need to spend $50,000 to $80,000 in addition to its original budget in order to be effective.

Id. ¶ 8. The organization will spend this additional money on additional canvassers to intensify

the campaign earlier than previously anticipated and to pay for additional advertising and

dissemination of information to the communities it serves. Id. Voces Unidas believes these

additional resources are necessary in order to effectively restore people’s confidence in USPS and

also convince people that they need to mail their completed ballot out earlier in order to ensure

their votes will be counted.

III.   The Public Interest and the Balance of Equities Weighs in Favor of A Preliminary
       Injunction.

       Courts considering a request for a preliminary injunction also evaluate whether the balance

of equities and public interest favor the requested relief. See Winter, 555 U.S. at 20. When the

Government is the party opposing the injunction, the two factors “merge.” Nken v. Holder, 556

U.S. 418, 435 (2009).

       Here, a preliminary injunction is without question in the public interest. Although the

government generally has an interest in carrying out its authorized functions, see Banks v. Booth,

No. 20-849, 2020 WL 1914896, at *12 (D.D.C. Apr. 19, 2020), “[i]t is always in the public interest

to prevent the violation of a party’s constitutional rights.” Simms v. District of Columbia, 872 F.

Supp. 2d 90, 105 (D.D.C. 2012); see also League of Women Voters v. Newby, 838 F.3d 1, 12 (D.C.



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Cir. 2016) (“There is generally no public interest in the perpetuation of unlawful agency action.”).

Relatedly, courts have found that “injunctions protecting First Amendment freedoms are always

in the public interest.” Christian Legal Soc’y v. Walker, 453 F.3d 853, 859 (7th Cir. 2006). And

“[t]he public interest . . . favors permitting as many qualified voters to vote as possible.” Husted,

697 F.3d at 437. Preliminarily enjoining Defendants from implementing their Late/Extra Trip

Policy would serve all of these goals. Doing so would prevent USPS from violating Plaintiffs’

constitutional rights and would allow as many qualified voters as possible to vote by mail and have

their votes counted.

                                         CONCLUSION

       For the reasons stated, Plaintiffs respectfully request that this Court enjoin Defendants

Louis DeJoy, Postmaster General of the United States, and the United States Postal Service,

together with any officers, agents, and employees thereof, until further order of this Court from

implementing the Late/Extra Trip Policy announced in the July 10, 2020 document entitled

“Mandatory Stand-Up Talk: All Employees,” see Ex. 4, USPS, Mandatory Stand-Up Talk: All

Employees (July 10, 2020), because the Policy unreasonably burdens the fundamental right to vote

and to have one’s vote counted.




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                                   Respectfully submitted,


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Date: September 8, 2020




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